DC SCAN INDEX SHEET

IAA
cn
Ini

Hl

wilt

NM
MAI
UNA

XR 1/14/05 9:50
: -010

Case 3:04-cr-01070-W Document 46 Filed 01/14/05 PagelD.430 Page 2 of 4

rtLED

"402453 (Rev. 9/00) Judgment in a Criminal Case 05 JAN 10 PH 3 10

Sheet |
UNITED STATES DISTRICT COU

SOUTHERN DISTRICT OF CALIFORNIA /

DEPUTY

JUDGMENT IN A CRIMINAL CASE

UNITED STATES OF AMERICA
vy, {For Offenses Committed On or After November 1, 1987)
JOSEPHINE FITZGERALD (03) CASE NUMBER: 04CR1070-W
LOUIS ESPOS[TO Pktnmrs
Defendant’s Atiomey EB Boas ds Baad!

REGISTRATION NO. 26314050

THE DEFENDANT:
X__ pleaded guilty to counts) one of the superseding information JAN 14 2005

Accordingly, the defendant is adjudged guilty of such count(s), which involve the/followtig-gAense(s}istaict CouRT
SOUTHERN DISTAICT OF CACOERT A
7 ~Nimberisy

BY
m Y

Title & Section Nature of Offense
26 USC 7206 & 18 USC 2 ASSISTING IN THE PREPARATION OF A FALSE TAX ST
RETURN & AIDING AND ABETTING .
3 of this judgment. The sentence is imposed pursuant

The defendant is sentenced as provided in pages 2 through

the Sentencing Reform Act of 1984.

x  Count(s) The underlying indictment QO is dismissed on the motion of the United States.

Xx Assessment: $100.00 payable forthwith
X $1,000.00 Fine ordered

Sitcumstagges. o
Le 3 the executed within Bloase Provan
Judgement and Commitment on_6 January 10,2005
SEs - Date of Imposition of Senter ce

“tons ak
ne a ants
ist ™ a 528: ied States Merfha!
oo Eph
shu 3 . .

tj ©? D= ° MS Criniinal Socg6n THOMAS J. WHELAN
Cc = 2 UNITED STATES

=. Oo certify that this ts a troc, correct and fri

gerryent on file jn nay legal puctodty.

& Palen dies
De Net rt
Uf Y L ame Der

Case 3:04-cr-01070-W Document 46 Filed 01/14/05 PagelD.431 Page 3 of 4

_ AO 243B (Rev. 9/00) Judgment in a Criminal Case
Sheet 4—Probation

Judgment—Page _ 20 of _
DEFENDANT: JOSEPHINE FITZGERALD (03)
CASE NUMBER: 04CR1070-W

PROBATION
The defendant is hereby sentenced to probation for a term of 1 year.

MANDATORY CONDITIONS

The defendant shall not commit another federal, state or local crime,
The defendant shall not illegally possess a controlled substance.
For offenses committed on or after September 13, 1994:

The defendant shall refrain from any unlawful use ofa controlled substance. The defendant shall submit to one drug test within
15 days of placement on probation and at least two periodic dug tests thereafter.

X The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
future substance abuse.

The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

If this judgment imposes a fine or a restitution obligation, it shall be a condition of probation that the defendant pay any
such fine or restitution in accordance with the Schedule of Payments set forth in this judgment.

The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
with the special conditions imposed.

STANDARD CONDITIONS OF SUPERVISION

1) the defendant shall not leave the judicial district without the permission of the court or probation officer;

| 2) the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days
of each month;

3} the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4) the defendant shall support his or her dependents and meet ather family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons;

6) the defendant shail notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted
of a felony, unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation
of any contraband observed in plain view of the probation officer;

11) the. defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
officer;

12) the defendant shail not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
the permission of the court;

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s
criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to
confirm the defendant's compliance with such notification requirement. a

AO 245

wt

Case 3:04-cr-01070-W Document 46 Filed 01/14/05 PagelD.432 Page 4 of 4

(Rev. 9/00} Judgrnent in ¢ Criminal Case
Sheet 4 — Continued 2 — Probation

Judgment—Page 3 of 3

DEFENDANT: JOSEPHINE FITZGERALD (03)
CASE NUMBER: 04CR1070-W

1)
2)

3)
4)

5)

6)
7)
8)

9)

SPECIAL CONDITIONS OF SUPERVISION

The defendant shall not possess firearms, explosive devices, or other dangerous weapons.

The defendant shall submit to search of person, property, residence, abode or vehicle, at a reasonable time and in a reasonable
manner, by the probation officer.

The defendant shall provide complete disclosure of personal and business financial records to the probation officer as requested.

The defendant shall participate in a program of mental health treatment if directed by the probation officer, take all medications as
prescribed by a psyc iatristiphysician, and not discontinue any medication without permission. The Court authorizes the release
of the presentence report and available psychological evaluations to the mental health provider, as approved by the probation
officer, The defendant may be required to contribute to the costs of services rendered in an amount to be determined by the
probation officer, based on the defendant’s ability to pay.

The defendant shall be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of
credit without approval of the probation officer.

The defendant shall not engage in the employment or profession of selling, trading, auctioning sports/celebrity memorabilia.
The defendant shall not serve as a bookkeeper or tax preparer other than personal finances.

The defendant shall pay a fine unto the United States in the amount of $1.000.00, to the Clerk, U.S. District Court, payable
‘Orluwith.

The defendant shall pay restitution in the amount of $19,326 through the Clerk, U.S. District Court, to the following victims in the
amounts specified, payable forthwith. Distribution of restitution to the victims is to be on a pro rata basis. (Note: The restutition
was paid by the defendant prior to sentencing.)

Diane Bergeman $691.00
C/O State Farm Insurance

104 East State Street

Jefferson, Iowa 50129

Corina Nesbitt $5,645.00
C/O Merrill Lynch

4412 North Brady Street

Davenport, lowa $2806

Greg Frigault $957.00
1241] Tecumseh Trail
Pensacola, FL 32514

Dr. Jack Reiter $10,000.00
726 Broadway, Suite 303
Seattle, WA 98122

Joseph Barone 31,656.00
23-43 128th Street
College Point, NY 11356

Joel Newman $50.00
3561 Normount
Oceanside, CA

Rachel Parks 5 #327.00
berry treet
Riverside, CA

